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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

OAKLEY, INC.,
                                                     Case No. 20-cv-00329
                        Plaintiff,
                                                     Judge Martha M. Pacold
       v.                                            Magistrate Judge M. David Weisman

JULY BREEZE, et al.,

                        Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Oakley, Inc.

(“Plaintiff”) hereby dismisses this action with prejudice against the following Defendants:

                Defendant Name                                         Line No.
                  goodjob2016                                             14
                   marry0119                                              16
                   meng_2018                                              17
                Finger Ten Shop                                           20
                  Zhongxinjie                                             30

Dated this 3rd day of April 2020.            Respectfully submitted,

                                             /s/ Allyson M. Martin
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                                             Justin R. Gaudio
                                             Allyson M. Martin
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